       Case 1:21-cr-02005-SMJ    ECF No. 39   filed 06/01/21   PageID.121 Page 1 of 2



                                                                              FILED IN THE
1                                                                         U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON



2                                                                    Jun 01, 2021
                                                                         SEAN F. MCAVOY, CLERK

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5                         UNITED STATES DISTRICT COURT

6                       EASTERN DISTRICT OF WASHINGTON

7    UNITED STATES OF AMERICA,                     No. 1:21-CR-02005-SMJ-1

8                       Plaintiff,                 ORDER GRANTING
                                                   DEFENDANT’S MOTION TO
9    vs.                                           MODIFY CONDITIONS OF
                                                   RELEASE
10   JEREMIAH BOBB,
                                                   ECF No. 38
11                      Defendant.

12         Before the Court is Defendant’s Motion to Modify Conditions of Release

13   (ECF No. 38). Neither the United States, nor the United States Probation/Pretrial

14   Services Office oppose the Motion. Specifically, Defendant requests that the Court

15   modify Special Condition No. 15, which requires Defendant participate in a

16   program of alcohol monitoring. ECF No. 38. For the reasons set forth in the

17   Motion;

18         IT IS ORDERED:

19         1.    Defendant’s Motion to Modify Conditions of Release (ECF No. 38) is

20   GRANTED.


     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE - 1
      Case 1:21-cr-02005-SMJ   ECF No. 39    filed 06/01/21   PageID.122 Page 2 of 2




1        2.    Special Condition No. 15 (ECF No. 27) shall be STRICKEN.

2        3.    All other conditions of release shall remain in effect.

3        DATED June 1, 2021

4                              s/Mary K. Dimke
                               MARY K. DIMKE
5                     UNITED STATES MAGISTRATE JUDGE

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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE - 2
